1    James H. Weingarten, DC Bar No. 985070
     Peggy Bayer Femenella, DC Bar No. 472770
2    James Abell, DC Bar No. 990773
     Cem Akleman, FL Bar No. 107666
3    Jennifer Fleury, NY Bar No. 5053178
     Meredith R. Levert, DC Bar No. 498245
4    James Gossmann, DC Bar No. 1048904

5    Federal Trade Commission
     600 Pennsylvania Avenue, NW
6    Washington, DC 20580
     Tel: (202) 326-3570
7
     jweingarten@ftc.gov; pbayerfemenella@ftc.gov;
8    jabell@ftc.gov; cakleman@ftc.gov;
     jfleury@ftc.gov; mlevert@ftc.gov;
9    jgossmann@ftc.gov

10   [Additional counsel identified on signature page in accordance with Local Rule 3-4(a)(1)]

11
                                  UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
13

14   FEDERAL TRADE COMMISSION,
15                 Plaintiff,                         Case No.
16          v.                                        COMPLAINT FOR A TEMPORARY
17                                                    RESTRAINING ORDER
     MICROSOFT CORP.,                                 AND PRELIMINARY INJUNCTION
18                                                    PURSUANT TO SECTION 13(b)
     and                                              OF THE FEDERAL TRADE
19                                                    COMMISSION ACT
     ACTIVISION BLIZZARD, INC.,
20                                                    REDACTED VERSION OF DOCUMENT
                   Defendants.                        SOUGHT TO BE SEALED
21

22

23

24

25

26

27

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            1
1

2           Plaintiff Federal Trade Commission (“FTC” or “Commission”), by its designated

3    attorneys, petitions this Court to enter a temporary restraining order and grant a preliminary

4    injunction enjoining Defendants Microsoft Corp. (“Microsoft”) and Activision Blizzard, Inc.

5    (“Activision”) from consummating their proposed acquisition (the “Proposed Acquisition”) or a

6    similar transaction. Plaintiff seeks this provisional relief pursuant to Section 13(b) of the Federal

7    Trade Commission Act (“FTC Act”), 15 U.S.C. § 53(b). Both a temporary restraining order and

8    a preliminary injunction are necessary because Microsoft and Activision have represented that

9    they may consummate the Proposed Acquisition at any time

10            without any further notice to the Commission. A preliminary injunction is necessary to

11   maintain the status quo and prevent interim harm to competition during the pendency of the

12   FTC’s administrative proceeding to determine whether the Proposed Acquisition violates U.S.

13   antitrust law. A temporary restraining order is necessary to maintain the status quo while this

14   Court decides whether to grant the requested preliminary injunction.

15          On December 8, 2022, the Commission initiated an administrative proceeding to

16   determine whether the Proposed Acquisition violates Section 7 of the Clayton Act, 15 U.S.C. §

17   18, and Section 5 of the FTC Act, 15 U.S.C. § 45. An evidentiary hearing in that proceeding will

18   begin in just seven weeks, on August 2, 2023. Fact discovery in the administrative proceeding

19   has closed, expert reports have been served, and final witness lists and exhibit lists have been

20   exchanged. The parties have scheduled expert depositions through the end of June, and motions

21   in limine and pretrial briefs are due in July. The administrative hearing will assess the legality of

22   the Proposed Acquisition and will provide all parties a full opportunity to present testimony and

23   other evidence regarding its likely competitive effects. The record from the evidentiary hearing

24   can be submitted to this Court in aid of its adjudication of Plaintiff’s request for a preliminary

25   injunction. See, e.g., FTC v. Tronox Ltd., 332 F. Supp. 3d 187, 196 (D.D.C. 2018).

26

27

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            2
1           Until recently, Defendants indicated that they would not complete the Proposed

2    Acquisition unless and until they received clearance from European regulators, including in

3    proceedings before this Court in a private case challenging the Proposed Acquisition.

4           On April 26, 2023, the United Kingdom Competition and Markets Authority (“UK

5    CMA”) issued a report finding that the Proposed Acquisition may be expected to result in a

6    substantial lessening of competition in cloud gaming services in the United Kingdom. On May 5,

7    2023, the UK CMA issued an interim order blocking the Proposed Acquisition as of that date.

8    On May 18, it issued a proposed final order prohibiting the Proposed Acquisition for a ten-year

9    period. Defendants have appealed the UK CMA’s decision.

10          On May 24,

11                                                                                     . Press reports

12   began circulating suggesting that Defendants were seriously contemplating closing the Proposed

13   Acquisition despite the pending administrative litigation and the CMA Orders.

14

15

16

17

18

19          Accordingly, pursuant to FTC Act § 13(b), Plaintiff requests (1) a preliminary injunction

20   to protect the Commission’s ability to evaluate the antitrust merits of the Proposed Acquisition

21   and (2) a temporary restraining order to protect this Court’s ability to decide the FTC’s request

22   for a preliminary injunction and order appropriate relief. Plaintiff’s request for a temporary

23   restraining order is the subject of a separate emergency motion, in which Plaintiff asks the Court

24   to enter—before 8:59 p.m. Pacific Time on June 15, 2023—an order prohibiting Defendants

25   from consummating the Proposed Acquisition or a substantially similar acquisition until after

26   this Court rules on the FTC’s request for a preliminary injunction.

27

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            3
1                                       NATURE OF THE CASE

2           1.      Microsoft and Sony control the market for high-performance video game

3    consoles. The number of independent companies capable of developing standout video games for

4    those consoles has contracted, with only a small group of firms commanding that space today.

5    Microsoft now proposes to acquire Activision, one of the most valuable of those developers, in a

6    vertical merger valued at nearly $70 billion (the “Proposed Acquisition”) that will increase

7    Microsoft’s already considerable power in video games. If consummated, the Proposed

8    Acquisition would be the largest in the history of the video game industry and the largest in

9    Microsoft’s history. The Proposed Acquisition would continue Microsoft’s pattern of taking

10   control of valuable gaming content. With control of Activision’s content, Microsoft would have

11   the ability and increased incentive to withhold or degrade Activision’s content in ways that

12   substantially lessen competition—including competition on product quality, price, and

13   innovation. This loss of competition would likely result in significant harm to consumers in

14   multiple markets at a pivotal time for the industry.

15          2.      Microsoft, one of only two manufacturers of high-performance video game

16   consoles, develops and sells Xbox gaming consoles. Microsoft is vertically integrated: through

17   its in-house game studios, it develops and publishes popular video game titles such as Halo. Such

18   in-house games are known as “first-party” titles in the industry. Microsoft also offers a leading

19   video game subscription service, Xbox Game Pass, for which customers pay a monthly fee to

20   access a library of hundreds of first- and third-party video games for console or personal

21   computer (“PC”). The top tier of Xbox Game Pass, called Xbox Game Pass Ultimate, includes

22   “cloud gaming” functionality that enables subscribers to stream certain games, as opposed to

23   downloading games locally, and then to play those games across a variety of devices including

24   consoles, PCs, tablets, and mobile phones.

25          3.      Activision develops and publishes high-quality video games for multiple devices,

26   including video game consoles, PCs, and mobile devices. Activision’s games include high-

27   quality games that are commonly referred to in the industry as “AAA” titles. AAA games are

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            4
1    costly to produce because of the creative talent, budgets, and time required for development.

2    Gamers highly anticipate the release of AAA games.

3           4.      Activision produces some of the most iconic video game titles, including several

4    leading AAA franchises. For example, Activision develops the popular franchises Diablo and

5    Overwatch and the marquee franchise Call of Duty.

6           5.      The Diablo and Overwatch AAA franchises are among several Activision

7    franchises that have individually earned more than             in lifetime revenues. Overwatch

8    just released a successful new title, Overwatch 2, available for play on multiple gaming consoles

9    and PCs. Diablo, a long-running franchise first introduced in the 1990s, launched a highly

10   anticipated new title, Diablo IV, on June 6, 2023. An Activision Press Release noted that Diablo

11   IV quickly became its Blizzard division’s “fastest-selling game of all time, with Blizzard’s

12   highest pre-launch unit sales ever on both console and PC. In the four days since early access

13   started on June 1, Diablo IV has been played for 93 million hours, or over 10,000 years --- the

14   equivalent playing 24 hours a day since the beginning of human civilization.”

15          6.      Activision and industry participants also recognize Call of Duty as Activision’s

16   “key product franchise.” Call of Duty was originally launched in 2003, and Activision releases

17   new titles for the franchise on an annual basis. Activision allocates substantial resources to the

18   franchise. As many as       primary development studios are devoted to it at any one time and its

19   budget is significantly larger than other AAA titles.

20          7.      By any measure, Call of Duty is a leading AAA franchise. It is one of the most

21   successful console-game franchises ever. From its launch in 2003 up through 2020, it generated

22   $27 billion in revenues. Call of Duty also has a massive following, with       million monthly

23   active users (“MAU”) in 2020, according to an Activision strategy document. Its loyal fanbase

24   and enduring appeal have made it particularly valuable, influencing gamer engagement and

25   gaming product adoption. The franchise has achieved sustained dominance over the past decade,

26   with Call of Duty titles comprising 10 of the top 15 console games sold between 2010–2019. No

27   other franchise had more than one title in the top 15. Call of Duty has continued to top the charts

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            5
1    in 2020 and 2021, and its latest installment, Modern Warfare II, amassed more than $1 billion in

2    sales within just ten days of its release. The previous franchise record was held by Call of Duty:

3    Black Ops II, which took 15 days to hit the $1 billion mark.

4            8.     Activision’s content is extremely important for, and drives adoption of, video

5    game consoles. Given their immense popularity, Activision’s titles are of particular importance

6    to console makers, including Microsoft’s competition.

7            9.     Microsoft produces its own first-party video game titles. Microsoft has acquired

8    over ten third-party studios and their titles in recent years to expand its offerings. Microsoft has

9    frequently made those acquired titles exclusive to its own consoles and/or subscription services,

10   eliminating the opportunity for consumers to play those titles on rival products or services. By

11   taking games exclusive, Microsoft strengthens the position of its console and subscription

12   service products relative to competitors.

13           10.    The Proposed Acquisition is reasonably likely to substantially lessen competition

14   or tend to create a monopoly in multiple markets because it will create a combined firm with the

15   ability and increased incentive to use its control of Activision titles to disadvantage Microsoft’s

16   competitors. The Proposed Acquisition also may accelerate an ongoing trend towards vertical

17   integration and consolidation in, and raise barriers to entering, the relevant markets.

18           11.    Microsoft’s ownership of Activision would provide Microsoft with the ability to

19   withhold or degrade Activision content through various means, including manipulating

20   Activision’s pricing, degrading game quality or player experience on rival offerings, changing

21   the terms and timing of access to Activision’s content, or withholding content from competitors

22   entirely.

23           12.    Microsoft’s past conduct provides a preview of the combined firm’s likely plans if

24   it consummates the Proposed Acquisition, despite any assurances the company may offer

25   regarding its plans. In March 2021, Microsoft acquired ZeniMax Media Inc. (“ZeniMax”), the

26   parent company of the well-known game developer and publisher Bethesda Softworks LLC

27   (“Bethesda”). Microsoft assured the European Commission (“EC”) during its antitrust review of

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            6
1    the ZeniMax purchase that Microsoft would not have the incentive to withhold ZeniMax titles

2    from rival consoles. But, shortly after the EC cleared the transaction, Microsoft made public its

3    decision to make several of the newly acquired ZeniMax titles, including Starfield, Redfall, and

4    Elder Scrolls VI, Microsoft exclusives.

5           13.     Today, Activision touts that it is                    and seeks to offer its games

6    wherever gamers want to be playing them. It has an incentive to offer its titles broadly.

7    Microsoft’s ownership of Activision’s content would alter that dynamic. As Microsoft seeks to

8    increase its profits from the lucrative video game industry, the Proposed Acquisition will

9    increase Microsoft’s incentive to withhold Activision content from, or degrade Activision

10   content on, consoles and subscription services that compete with Xbox consoles and Xbox Game

11   Pass. Such conduct would be reasonably likely to substantially lessen competition and harm

12   gamers in the United States.

13          14.     These effects are likely to be felt throughout the video gaming industry. The

14   Proposed Acquisition is reasonably likely to substantially lessen competition and/or tend to

15   create a monopoly in both well-developed and new, burgeoning markets, including high-

16   performance consoles, multi-game content library subscription services, and cloud gaming

17   subscription services.

18          15.     Defendants cannot show cognizable, merger-specific efficiencies that would

19   offset the reasonably probable and substantial competitive harm resulting from the Acquisition.

20          16.     On December 8, 2022, the Commission found reason to believe that the

21   Acquisition would substantially lessen competition in violation of Section 7 of the Clayton Act,

22   15 U.S.C. § 18, and Section 5 of the FTC Act, 15 U.S.C. § 45, and commenced an administrative

23   proceeding on the antitrust merits of the Proposed Acquisition. The administrative proceeding

24   provides a forum for fact discovery, which closed on April 7, 2023, after all parties issued

25   document subpoenas, requests for admission, interrogatories, and conducted over thirty

26   depositions of party and non-party witnesses. Pretrial disclosures are underway and the

27   evidentiary hearing is scheduled to begin before an Administrative Law Judge (“ALJ”) on

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            7
1    August 2, 2022, with up to 210 hours of live testimony permitted by rule. See 16 C.F.R. § 3.41.

2           17.     A temporary restraining order is necessary to prevent Defendants from

3    consummating the Proposed Acquisition until after the fifth business day after this Court rules on

4    the Commission’s motion for a preliminary injunction pursuant to Section 13(b), or until after

5    the date set by the District Court, whichever is later. Such a temporary restraining order is

6    necessary to preserve the status quo and protect competition while the Court considers the

7    Commission’s application for a preliminary injunction.

8           18.     Preliminary injunctive relief is similarly necessary to preserve the status quo and

9    protect competition during the Commission’s ongoing administrative proceeding. Allowing the

10   Proposed Acquisition to proceed while the Commission is assessing whether it violates Section 7

11   of the Clayton Act, as amended, 15 U.S.C. § 18 and is an unfair method of competition that

12   violates Section 5 of the FTC Act, as amended, 15 U.S.C. § 45, would undermine the

13   Commission’s ability to order any necessary relief.

14                                 JURISDICTIONAL STATEMENT

15          A.      Jurisdiction

16          19.     This Court’s jurisdiction arises under Section 13(b) of the FTC Act, 15 U.S.C. §

17   53(b), and under 28 U.S.C. §§ 1331, 1337, and 1345. This is a civil action arising under the Acts

18   of Congress protecting trade and commerce against restraints and monopolies, and is brought by

19   an agency of the United States authorized by an Act of Congress to bring this action.

20          20.     Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), provides in pertinent part:

21                      Whenever the Commission has reason to believe—

22                      (1) that any person, partnership, or corporation is violating, or is about to

23                      violate, any provision of law enforced by the Federal Trade Commission, and

24                      (2) that the enjoining thereof pending the issuance of a complaint by the

25                      Commission and until such complaint is dismissed by the Commission or set

26                      aside by the court on review, or until the order of the Commission made

27                      thereon has become final, would be in the interest of the public—

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            8
1                       the Commission by any of its attorneys designated by it for such purpose

2                       may bring suit in a district court of the United States to enjoin any such act or

3                       practice. Upon a proper showing that, weighing the equities and considering

4                       the Commission’s likelihood of ultimate success, such action would be in the

5                       public interest, and after notice to the defendant, a temporary restraining

6                       order or a preliminary injunction may be granted without bond. . . .

7           21.     Defendants and their relevant operating entities and subsidiaries are, and at all

8    relevant times have been, engaged in activities affecting “commerce” as defined in Section 4 of

9    the FTC Act, 15 U.S.C. § 44, and Section 1 of the Clayton Act, 15 U.S.C. § 12.

10          B.      Venue

11          22.     Personal jurisdiction exists where service is effected pursuant to a federal statute.

12   Fed. R. Civ. P. 4(k)(1)(C). The FTC Act § 13(b), 15 U.S.C. § 53(b), authorizes nationwide

13   service of process. Defendants are therefore subject to personal jurisdiction in the Northern

14   District of California. Venue is proper in the Northern District of California under 28 U.S.C.

15   § 1391(b) and (c), as well as under 15 U.S.C. § 53(b) (“Any suit may be brought where such

16   person, partnership, or corporation resides or transacts business, or wherever venue is proper

17   under section 1391 of Title 28.”)

18          C.      Assignment to the San Francisco Division

19          23.     Assignment to the San Francisco Division is proper. A related proceeding

20   regarding the Proposed Acquisition was filed in the San Francisco Division: DeMartini v.

21   Microsoft Corp., No. C-22-08991-JSC (N.D. Cal.).

22                     THE PARTIES AND THE PROPOSED ACQUISITION

23          24.     Plaintiff, the Commission, is an administrative agency of the United States

24   government, established, organized, and existing pursuant to the FTC Act, 15 U.S.C. §§ 41 et

25   seq., with its principal offices at 600 Pennsylvania Avenue, N.W., Washington, D.C. 20580. The

26   Commission is vested with authority and responsibility for enforcing, inter alia, Section 7 of the

27   Clayton Act, 15 U.S.C. § 18, and Section 5 of the FTC Act, 15 U.S.C. § 45.

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            9
1           25.     Defendant Microsoft is a publicly traded technology company incorporated in the

2    State of Washington with headquarters in Redmond, Washington. Microsoft sells software,

3    services, and devices across the technology industry and is among the most valuable companies

4    in the world. Microsoft’s gaming division produces Xbox hardware and Xbox content and

5    services. Its total gaming revenues in FY2022 were over $16 billion. Microsoft’s total revenues

6    in FY2022 were over $198 billion.

7           26.     Defendant Activision is a publicly traded company, incorporated in the State of

8    Delaware with headquarters in Santa Monica, California. Activision develops and publishes

9    video games for consoles, PCs, and mobile devices. Activision’s revenues in FY2021, its most

10   recently reported fiscal year, were $8.8 billion.

11          27.     Microsoft entered into an Agreement and Plan of Merger with Activision on

12   January 18, 2022, for an all-cash purchase price of $95 per Activision share and a total estimated

13   value of $68.7 billion.

14          28.     Unless temporarily restrained and preliminarily enjoined by this Court,

15   Defendants have represented that they that they may consummate the Proposed Acquisition at

16   any time after June 15, 2023.

17                                            BACKGROUND

18          29.     Activision’s gaming content is extremely important in a gaming industry where

19   content availability shapes gamers’ decisions about which video game consoles and services to

20   purchase. If the Proposed Acquisition is allowed to proceed, Microsoft would gain control of

21   Activision’s content and have the ability and increased incentive to withhold or degrade

22   Activision’s content, which is reasonably likely to reduce competition and cause a number of

23   harmful outcomes, including dampened innovation, diminished consumer choice, higher prices

24   and/or lower quality products, and harm to the millions of Americans who benefit from

25   competition in video game consoles and subscription services.

26          30.     Today, gaming is the largest category in the entertainment industry, with revenues

27   that far exceed those of both the film and music industries. This year, the gaming industry is

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            10
1    expected to be worth more than $170 billion in global revenues, five times greater than global

2    movie box office revenues.

3           31.      Gaming’s unrivaled popularity among consumers is expected to continue.

4    Microsoft projects global gaming revenues to grow to         billion in annual sales by        .

5    Microsoft also expects the number of gamers worldwide to increase significantly, expanding by

6    another      billion players and reaching     of the global population over the next          years.

7           32.      Video game content and services are generally available on a variety of devices,

8    including video game consoles that are predominantly used for playing video games; PCs,

9    including general purpose PCs as well as high-performance gaming PCs configured to play

10   computationally demanding games; and mobile devices.

11          33.      Consumers purchase consoles based on the technological capability of the

12   console, the price, and the games available for that specific console, among other factors.

13   II.    Consoles

14          34.      For gamers who play games on gaming consoles today, the most popular options,

15   Microsoft’s Xbox, Sony’s PlayStation, and Nintendo’s Switch, come from the same trio of

16   companies that have been manufacturing consoles for decades with no meaningful new

17   competition.

18          35.      Since the 1970s, competing video game console makers have periodically

19   released consoles featuring the latest technological advances, with a new generation of consoles

20   released approximately every five to ten years. Within the video game industry, competition for

21   sales and technological supremacy is commonly referred to as “the console wars.”

22          36.      Of these three console makers, PlayStation and Xbox compete in a high-

23   performance segment that includes only the most technologically advanced and capable

24   consoles. In November 2020, both Microsoft and Sony launched their current generation of

25   consoles, the Xbox Series X and Series S consoles (collectively, “Xbox Series X|S”) and the

26   PlayStation 5 and PlayStation 5 Digital Edition consoles (collectively, “PS5”), respectively.

27   Xbox Series X|S and PS5 consoles are the only high-performance consoles available today, and

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            11
1    are considered to be in the ninth generation of gaming consoles. In contrast, Nintendo’s most

2    recent console—the Nintendo Switch—is not a ninth-generation gaming console. The Nintendo

3    Switch was released in 2017, in the latter half of the eighth generation of gaming consoles, which

4    had begun in approximately 2013. The Nintendo Switch (“Switch”) also has lower

5    computational performance, more in line with Microsoft’s and Sony’s eighth generation

6    consoles.

7           37.     The Xbox Series X|S are two ninth-generation Xbox consoles offered by

8    Microsoft. The Series X is a more powerful console while the Series S is more affordable.

9    Together, these consoles provide Microsoft’s

10          38.     Microsoft closely tracks the performance of its Xbox consoles relative to Sony’s

11   PlayStation consoles. For example, in FY2022, the first full year that Xbox Series X|S consoles

12   were available, one of Microsoft’s key metrics for evaluating success was

13                                             In internal communications, Microsoft executives

14   regularly discuss

15          39.     Xbox Series X|S consoles have been a commercial success. In a July 26, 2022

16   earnings call, Microsoft CEO Satya Nadella announced that the company “ha[d] been the market

17   leader in North America for three quarters in a row among next gen consoles.”

18          40.     The Xbox Series X|S and PS5 consoles are                            from a broad

19   consumer perspective, in a number of technical specifications, including offering similar

20   graphics, user experiences, and hardware features. In addition, the Xbox Series X and

21   PlayStation 5 are sold at the same price, while the Series S offers lower performance and is sold

22   at a lower price.

23          41.     Other consoles lack the high performance of the Xbox Series X|S and PS5

24   consoles. For example, the Nintendo Switch, which is designed to allow portable, handheld use,

25   necessarily sacrifices computing power, which leaves it unable to play certain games that require

26   more advanced graphic processing. Retailing at $299.99, the Nintendo Switch is also less

27   expensive than the Xbox Series X and PlayStation 5 consoles, both priced at $499.99. While the

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            12
1    Xbox Series S had the same retail price at launch as the Nintendo Switch, the graphical and

2    processing capabilities of the Series S are much more aligned with the Xbox Series X and PS5

3    consoles. The Xbox Series S enables gamers to play the same video games as the Xbox Series X,

4    both of which offer more graphically advanced gameplay than on the Nintendo Switch.

5    III.      Gaming Content

6              A.    Multi-Game Content Library Subscription Services

7              42.   For the last several decades, gamers have purchased games through a “buy-to-

8    play” model: either purchasing physical copies of games or, more prevalent today, purchasing

9    digital copies of individual games that gamers download to their gaming console, PC, or other

10   device.

11             43.   Recent years, however, have seen the expansion of a subscription model. Multi-

12   game content library subscription services allow gamers to access a library of games for a fixed

13   monthly or yearly fee. Microsoft’s multi-game content library subscription service, Xbox Game

14   Pass, launched in 2017, rapidly grew to 10 million subscribers by 2020 and in 2022 announced it

15   had grown to 25 million subscribers.

16             44.   Xbox Game Pass provides subscribers with unlimited access to a library of over

17   300 first- and third-party games at no additional cost. The service is priced at $9.99 per month

18   for gamers who seek to download games to play solely on an Xbox console or solely on a PC.

19   The higher tiered service, Xbox Game Pass Ultimate, priced at $14.99 per month, allows gamers

20   to download games for play on either an Xbox console or a PC, and additionally enables gamers

21   to stream games from an off-site server to any web-enabled local device that can access Game

22   Pass (e.g., an Xbox console, PC, mobile device, or smart TV).

23             45.   Sony also offers a multi-game content library subscription service, PlayStation

24   Plus, which at certain tiers is comparable to Xbox Game Pass. The lower comparable tier,

25   PlayStation Plus Extra, priced at $14.99 per month, provides access to a library of hundreds of

26   games that can be played on PlayStation consoles as well as online multiplayer access, discounts

27   on other games, and cloud storage. The higher comparable tier, PlayStation Plus Premium,

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            13
1    priced at $17.99 per month, provides access to an even larger library of games that can be played

2    on PlayStation, along with cloud streaming.

3           46.     In addition to Sony’s PlayStation Plus Extra and Premium, other multi-game

4    content library subscription services include EA Play and Ubisoft+. EA Play, starting at $4.99

5    per month, and Ubisoft+, starting at $14.99 per month, each offer access only to content from the

6    respective publishers, Electronic Arts Inc. (“EA”) and Ubisoft Entertainment SA (“Ubisoft”).

7           B.      Cloud Gaming Subscription Services

8           47.     Today, video game software typically runs locally on the player’s gaming device.

9    Recently, however, cloud gaming subscription services have been introduced that allow players

10   to stream games that run on remote hardware without downloading the game locally. The

11   primary processing for the game occurs in off-site datacenters and a live feed of the game is

12   streamed to the player’s device.

13          48.     Microsoft touts numerous benefits of cloud gaming to customers. Cloud gaming

14   enables gamers to begin playing a game in seconds, rather than waiting for games to download

15   or update, and streaming rather than downloading avoids burdening the storage limits on a

16   gaming device. Cloud gaming also broadens access to gaming by expanding the universe of

17   devices that can play games. Today, cloud gaming subscription services are available on

18   consoles, Windows PC, Mac PC, Chromebook PC, tablet, mobile phones, and some smart TVs,

19   with device compatibility varying by service. This permits gamers to play computationally

20   demanding games on less powerful devices that otherwise lack the computing power or storage

21   to support the games.

22          49.     In September 2020, Microsoft added cloud gaming to its top-tier multi-game

23   content library subscription service offering, Xbox Game Pass Ultimate. To date, more than 20

24   million gamers have used the service to stream games from the cloud. Microsoft has stated that

25   cloud gaming subscription services are integral to its goal of expanding gaming to 3 billion

26   gamers worldwide and enabling gamers “to play the games you want, with the people you want,

27   anywhere you want.”

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            14
1             50.   Other cloud gaming subscription services include Amazon Luna, Nvidia GeForce

2    NOW, and Google Stadia, although Alphabet Inc. announced that it discontinued Stadia in

3    January 2023. Amazon’s Luna+ (a tier of Amazon Luna), priced at $9.99 per month with

4    additional options available for further purchases, provides streaming access to a library of over

5    100 third-party games. Nvidia GeForce NOW, priced at $49.99 for six months for the Priority

6    tier or $99.99 for six months for the RTX 3080 tier, allows gamers to stream game titles that they

7    already own, with the streaming hosted on Nvidia Corporation (“Nvidia”) datacenters. Although

8    it will soon be discontinued, Stadia Pro, priced at $9.99 per month with additional options for

9    further purchases, allows gamers to stream games from a library of hundreds of third-party

10   games.

11            C.    Importance of AAA Games

12            51.   AAA games are particularly important within the gaming industry. The term

13   “AAA” is frequently used by industry participants to refer to highly anticipated games bearing

14   similar characteristics: high development costs, superior graphical quality, and expectations of

15   high unit sales and revenue, typically from a studio with large development and publishing

16   teams, supported by extensive marketing and promotion. AAA content can act as

17   content, where, as a consultant to Microsoft explained, it

18

19

20            52.   In the words of one Microsoft executive, AAA games are                          They

21   are also not numerous. Phil Spencer, CEO of Microsoft Gaming, estimates there are

22

23            53.   Production budgets for AAA games frequently exceed            million, if not

24   million, and development teams can include thousands of developers working over several years.

25   The high cost of AAA game development is driven by many factors such as long development

26   cycles and the scarcity of AAA-capable studios and talent.

27            54.   The gaming industry recognizes a limited top tier of independent game publishers,

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            15
1    sometimes referred to as the “Big 4” or simply the AAA publishers: Activision, Electronic Arts,

2    Take-Two, and Ubisoft. These publishers reliably produce AAA games for high-performance

3    consoles and collectively own a significant portion of the most valuable IP in the gaming

4    industry. These high-profile franchises include, for example, Call of Duty (Activision), FIFA

5    (EA), Grand Theft Auto (Take-Two), and Assassin’s Creed (Ubisoft).

6           55.     Only a few other studios are typically credited with releasing AAA games. Epic

7    Games, maker of Fortnite, a free-to-play game that is currently one of the most popular games in

8    the United States, is sometimes viewed within the industry as a AAA-level publisher, such that

9    industry participants will sometimes refer to the “Big 4 + Epic.”

10          56.     Internally, Microsoft recognizes that

11                                                                              Despite significant

12   growth in the gaming industry, the head of Xbox Game Studios has noted

13                                                                                  Creating a studio

14   with the capability to produce AAA games requires scarce talent and is a capital-intensive

15   endeavor.

16          57.     Microsoft and Sony also produce AAA games. The Elder Scrolls, Halo, and

17   Forza franchises are AAA games from Microsoft, while the God of War, MLB The Show, and

18   Spider-Man franchises are AAA games from Sony.

19          58.     Microsoft’s own experience with releasing AAA games reflects the cost and time

20   to develop such content. Halo Infinite, a recent title from the Microsoft’s first-party Halo

21   franchise, was in production for              years, and cost almost $     million. Other AAA

22   games may take even longer to develop. For instance, according to one Microsoft executive,

23                    a forthcoming title from the                franchise, may take a         to

24   develop.

25          59.     Access to AAA content is crucial for Microsoft, and the company strives to

26   ensure that new AAA content is available on its console and subscription services on a regular

27   basis. In May 2022, Mr. Spencer of Microsoft

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            16
1

2

3

4

5           60.     AAA content has particularly important downstream effects because it generates

6    player interest, develops a base of users, and drives monetization opportunities. As Microsoft’s

7    CEO has explained,

8                                                                               As an internal Microsoft

9    document explained,

10

11                                                                               An internal strategy

12   document on scaling Xbox Game Pass

13

14

15          61.     To differentiate their products from rivals, console manufacturers and

16   subscription service providers may seek to make certain titles exclusive to their products and

17   unavailable on rivals’ products, including by obtaining exclusive licenses from third-party game

18   publishers. An internal Microsoft analysis estimates

19                                                          Typically, exclusivity in this context does

20   not prevent a game from being available for PC or other non-console devices.

21          62.     A diverse array of AAA content that increases adoption and engagement gives a

22   console or subscription service greater leverage in attracting additional content. The console or

23   subscription service can tout the size of its player base in negotiations with publishers and

24   developers seeking to increase the discoverability and engagement of their content. As an

25   internal Microsoft strategy document notes,

26                          The result of these dynamics is to generate competition among console

27   manufacturers and subscription service providers for AAA content.

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            17
1              63.   Microsoft Xbox’s Chief Marketing Officer has emphasized the importance of

2    such content, noting:

3

4              64.   Microsoft expects that Activision’s AAA content

5

6                               As Mr. Spencer explained to Microsoft investors, “[a]s our platform

7    becomes more attractive, the flywheel of content creators and players accelerates. As the creative

8    range on our platform continues to expand, more players are attracted to the service, and the

9    growing scale of the customer base makes the platform more attractive for additional publishers,

10   and so on.”

11             65.   Activision content is especially valuable to any gaming console or subscription

12   service due to the ability of Activision games to drive sales and engagement. Activision’s CEO

13   Bobby Kotick testified that Activision’s games are “         ” and “        .” Microsoft, in

14   presentations to its Board of Directors regarding this Proposed Acquisition, called Activision’s

15   content

16             66.   Activision currently has a combined       million MAU globally across its console

17   and PC games and the company expects this number to grow to over            million MAU by 2024.

18   Activision’s statements reflect its ability to influence video game product purchase decisions.

19

20

21

22             67.   Even among AAA games, Activision’s most well-known franchise, Call of Duty,

23   is particularly strong. First released nearly twenty years ago in 2003, Call of Duty is, in

24   Activision’s own words, “one of the most successful entertainment franchises of all time.” In

25   2021, Call of Duty: Vanguard topped the revenue charts as the best-selling game in the United

26   States, with Call of Duty: Black Ops Cold War coming in second. And in 2022, Call of Duty:

27   Modern Warfare II took in $1 billion globally in the first ten days following its launch. By

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            18
1    comparison, the highest grossing film of the year so far, Top Gun: Maverick, took one month to

2    reach the $1 billion threshold.

3                             THE RELEVANT ANTITRUST MARKETS

4           68.     The Proposed Acquisition will result in a combined firm with the ability and

5    increased incentive to withhold or degrade Activision’s valuable gaming content to undermine its

6    competitors in multiple Relevant Markets. This anticompetitive behavior is reasonably likely to

7    lead to reduced consumer choice, higher prices and/or lower quality products, and less

8    innovation, and the Proposed Acquisition will not produce cognizable procompetitive effects

9    sufficient to offset such harms.

10          69.     The Proposed Acquisition is likely to harm innovation, for instance, by decreasing

11   the combined firm’s incentive to optimize Activision’s content for gameplay on rival hardware,

12   thereby reducing the quality of consumer gaming experiences on competing products.

13          70.     The Proposed Acquisition is reasonably likely to substantially lessen competition

14   or tend to create a monopoly in the Relevant Markets for High-Performance Consoles, Multi-

15   Game Content Library Subscription Services, and Cloud Gaming Subscription Services. The

16   Proposed Acquisition is therefore reasonably likely to result in harm to both competition and

17   consumers.

18   I.     High-Performance Consoles are a Relevant Product Market

19          71.     High-Performance Consoles are a Relevant Market for evaluating the likely

20   competitive effects of the Proposed Acquisition.

21          72.     The only High-Performance Consoles offered for sale today are the most recent

22   generation of Microsoft Xbox and Sony PlayStation consoles—the Xbox Series X|S and the PS5.

23   The Xbox Series X|S and PS5 are therefore included within the Relevant Market.

24          73.     The third major gaming console available today, the Nintendo Switch, is highly

25   differentiated from the Xbox and PlayStation consoles in significant ways. The Nintendo Switch,

26   therefore, is not included in the Relevant Market.

27          74.     Microsoft’s Xbox Series X|S and Sony’s PS5 consoles are characterized by

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            19
1    greater computational power, different content portfolios, different form factors and technical

2    specifications, generally higher prices, and different release cadences than the Nintendo Switch

3    and other handheld consoles.

4           75.     Superior computational power enables faster processing that shapes the kind of

5    content that can run on High-Performance Consoles, enabling higher resolution, more realistic

6    graphics, and cutting-edge performance. Both Xbox Series X|S and PS5 consoles have similar

7    hardware, and Microsoft and Sony compete closely on hardware innovation, including over

8    graphics and performance. Conversely, Nintendo pursues a different strategy of integrating its

9    lower performance, portable hardware with its own distinctive first-party games to appeal to

10   player nostalgia for Nintendo’s unique gaming experience over high resolution, life-like

11   graphics, and performance speed. While Microsoft’s Xbox Series X|S and Sony’s PS5 consoles

12   incorporate semi-custom systems-on-a-chip (“SoC”) designed by AMD, Nintendo’s Switch runs

13   on a non-AMD SoC that is more closely related to a mobile device processor found in higher-end

14   mobile phones and tablets.

15          76.     Microsoft and Sony compete closely for high-quality, resource-intensive AAA

16   console games. They compete over genre coverage, portfolio size and quality, and multiplayer

17   game availability, and they routinely benchmark their                    against each other. A

18   substantial share of High-Performance Console content is available on both Xbox and

19   PlayStation consoles. By contrast, although Nintendo offers third-party content on the Switch,

20   Nintendo’s main strategy centers on

21

22          77.     Xbox Series X|S and PS5 consoles provide a technologically advanced gaming

23   experience from a stationary endpoint. The Xbox Series X|S and PS5 consoles are plug-in

24   devices that draw electrical power to support advanced computations and are connected to an

25   external display like a television. In contrast, the Nintendo Switch is a portable battery-operated

26   device with a built-in display screen, and it can optionally be connected to an external display.

27   Nintendo’s Switch also has detachable controllers that can be used for motion-based game play

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            20
1    that is not available on the Xbox or PlayStation consoles. Microsoft and Sony commonly

2    benchmark against each other on

3           78.     The PlayStation 5 and the Xbox Series X, the companies’ latest flagship consoles,

4    retail for $499.99. By contrast, the Nintendo Switch retails for $200 less at $299.99.

5           79.     Since the 2000s, Microsoft and Sony have released new console generations

6    largely contemporaneously—most recently in 2020. The prior generation (Generation 8) Xbox

7    One and PlayStation 4 were released in 2013, and the current generation (Generation 9) Xbox

8    Series X|S and PS5 consoles were released in November 2020. By contrast, the Nintendo Switch

9    launched in March 2017, nearly five years after the beginning of the eighth generation.

10          80.     Microsoft’s own ordinary course documents regularly

11

12             Defendants conceded in a regulatory filing that

13

14          81.     Due to their distinct offerings, Microsoft and Sony consoles appeal to different

15   gaming audiences than the Nintendo Switch. While Xbox Series X|S and PS5 consoles offer

16   more mature content for more serious gaming, Nintendo’s hardware and content tends to be used

17   more for casual and family gaming.

18          82.     Indeed, “dual console owners” are more likely to own one High-Performance

19   Console and a Nintendo Switch than two High-Performance Consoles. NPD Group, a trusted

20   source for video game industry data, shows that as of 2020, nearly 40 percent of PlayStation and

21   Xbox owners also owned a Switch, while only        percent of PlayStation console owners owned

22   an Xbox and only      percent of Xbox console owners own a PlayStation.

23          83.     Other video gaming devices available today are not commercially reasonable

24   alternatives to High-Performance Consoles and are therefore not included in the Relevant

25   Market. These include gaming PCs, and mobile devices.

26          84.     Gaming PCs are distinct from High-Performance Consoles due to differences in

27   price, hardware, performance, and functionality (i.e., where and when a game can be played),

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            21
1    among other factors. Gaming PCs are therefore not included in the Relevant Market. Mobile

2    devices are distinct from High-Performance Consoles due to differences in complexity and

3    quality of game performance, content offerings, monetization approach, gameplay and interface,

4    and audience, among other factors. Microsoft recently confirmed this factual distinction in

5    testimony during the trial of Epic Games, Inc. v. Apple Inc., 559 F.Supp.3d 898, 981 (N.D. Cal.

6    2021). Mobile gaming devices are therefore not included in the Relevant Market.

7           85.     High-Performance Consoles are a relevant antitrust market. However, although

8    the Nintendo Switch is highly differentiated from the Xbox Series X|S and PS5 consoles, it

9    shares many of the same characteristics that make High-Performance Consoles distinct from

10   PCs, and mobile devices. Accordingly, the anticompetitive effects of the Proposed Acquisition

11   alleged in this Complaint are also reasonably likely to occur in a broader market for gaming

12   consoles that includes High-Performance Consoles and the highly differentiated Nintendo

13   Switch.

14   II.    Multi-Game Content Library Subscription Services are a Relevant Product Market

15          86.     Multi-Game Content Library Subscription Services are a relevant product market

16   for evaluating the competitive effects of the Proposed Acquisition.

17          87.     The Relevant Market for Multi-Game Content Library Subscription Services

18   includes services that offer unlimited access to a library of video games that are predominantly

19   played on non-mobile devices and are available to play at zero additional cost beyond the

20   subscription fee, either via download or cloud streaming.

21          88.     Microsoft is already a significant player in this market through its Xbox Game

22   Pass offerings and continues to expand rapidly in this market. Microsoft offers three tiers of

23   Game Pass, each of which provide unlimited access to hundreds of games, with Game Pass

24   Ultimate also providing access to Xbox Cloud Gaming. Microsoft is already the market leader

25   with an announced 25 million Game Pass subscribers.

26          89.     Each service competes aggressively to offer the best, most exciting titles to attract

27   users to its service, with each attempting to provide access to a compelling library of high-end,

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            22
1    AAA games. Services offer a range of incentives to developers and publishers including

2    attractive revenue splits or co-marketing arrangements in order to ensure games are available on

3    their services.

4            90.       Multi-Game Content Library Subscription Services rely on distinct pricing

5    compared to the traditional “buy to play” model, where gamers purchase individual games for up

6    to $70 per title, or more. Multi-Game Content Library Subscription Services seek to offer a new

7    method of accessing games by offering access to an entire library of games for a periodic fee,

8    rather than a single title for a fixed cost.

9            91.       Subscription services in the Relevant Market

10                                            Microsoft’s ordinary course documents show that

11

12   For example, Xbox CFO Tim Stuart sent an email

13

14           Mr. Stuart went on to report:

15

16           92.       Buy-to-play games are not commercially reasonable alternatives and therefore are

17   not included in the Relevant Market. Multi-Game Content Library Subscription Services provide

18   immediate access to hundreds of game titles for a monthly fee, facilitating content discovery.

19   The pricing of individual games does not dictate Microsoft’s pricing decisions for its Xbox

20   Game Pass subscriptions. Additionally, when speaking with third-party game developers,

21   Microsoft’s executives tout Game Pass as

22                         Microsoft further showcases the additive nature of Game Pass through public

23   statements that report Game Pass subscribers invest more time and money in gaming than their

24   fellow gamers without a subscription.

25           93.       Subscription services that focus on enabling online multiplayer gaming, such as

26   Xbox Live Gold and PlayStation Plus Essential, are not commercially reasonable alternatives

27   and therefore are not included in the Relevant Market. Xbox Live Gold and PlayStation Plus

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            23
1    Essential, as currently structured, award a limited number of free games as “bonus content.”

2    These services do not provide access to the same breadth and diversity of content as Multi-Game

3    Content Library Subscription Services and do not facilitate the same level of game

4    discoverability.

5           94.     Subscription services that do not offer a library of video games that are

6    predominantly played on non-mobile devices are also not commercially reasonable alternatives

7    and therefore are not included in the Relevant Market. Mobile-native games are distinct from

8    games accessed natively on a console and from the most performant games accessed natively on

9    a PC, due to differences in complexity and quality of game performance, monetization approach,

10   gameplay and interface, and audience, among other factors.

11          95.     Multi-Game Content Library Subscription Services comprise a Relevant Market.

12   The anticompetitive effects of the Proposed Acquisition also are reasonably likely to occur in

13   any relevant antitrust market that contains Multi-Game Content Library Subscription Services,

14   including a combined Multi-Game Content Library and Cloud Gaming Subscription Services

15   market.

16   III.   Cloud Gaming Subscription Services are a Relevant Market

17          96.     Cloud Gaming Subscription Services are a relevant product market for evaluating

18   the competitive effects of the Proposed Acquisition.

19          97.     The Relevant Market for Cloud Gaming Subscription Services includes services

20   that offer the ability to play predominantly non-mobile video games via cloud streaming.

21          98.     The Relevant Market includes Multi-Game Content Library Subscription Services

22   that offer access to games via cloud streaming as well as any services that offer streaming via a

23   “Bring Your Own Game” (“BYOG”) approach where users play games they own in their own

24   personal library by streaming those games through their Cloud Gaming Subscription Service. In

25   all cases, users pay a periodic fee, either monthly or yearly, to access the Cloud Gaming

26   Subscription Service.

27          99.     Cloud Gaming Subscription Services provide a way to play games that is distinct

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            24
1    from running them locally on the player’s gaming device. Such subscription services make

2    predominantly non-mobile video games available instantly on a wide variety of devices,

3    reducing the need for gamers to make large investments in expensive hardware, such as a High-

4    Performance Console or a gaming PC, and eliminating download time.

5           100.    Cloud Gaming Subscription Services are designed to reach a different set of

6    consumers than other forms of game distribution. These subscription services enable gaming on

7    devices that do not meet the minimum specifications for large and technologically complex

8    games, such as older and less expensive PCs, MacBooks, Chromebooks, tablets, mobile devices,

9    and smart TVs. They also enable gamers to play games that were developed for other devices

10   and/or operating systems. Microsoft has estimated that the total addressable market for cloud

11   gaming is approximately 3 billion users, compared to              console users.

12          101.    Microsoft’s executives recognize the expanded opportunity Cloud Gaming

13   Subscription Services offer. For example, Microsoft executives have explained that xCloud (now

14   referred to as Xbox Cloud Gaming) offers

15                                              and that,

16

17          102.    Microsoft’s documents show that

18                                                   In a recap of insights and learnings from

19   FY2022, the Xbox Cloud Gaming team reported that “

20

21

22

23

24          103.    Cloud Gaming Subscription Services also require specialized inputs. Cloud

25   Gaming Subscription Services operate on cloud infrastructure, either by deploying their own

26   dedicated infrastructure or by contracting with a third party. For example, Microsoft built Xbox

27   Cloud Gaming by deploying racks of dedicated Xbox console hardware in Microsoft data

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            25
1    centers, investing                                . Microsoft has plans to support

2               on its               in the future and expects to spend over               on Xbox

3    Cloud Gaming infrastructure in the next several years.

4           104.    Cloud Gaming Subscription Services are a Relevant Market. The anticompetitive

5    effects of the Proposed Acquisition alleged in this complaint are also likely to occur in any

6    relevant antitrust market that contains Cloud Gaming Subscription Services, including a

7    combined Multi-Game Content Library and Cloud Gaming Subscription Services market.

8    IV.    The Relevant Geographic Market is the United States

9           105.    The relevant geographic market in which to assess the Proposed Acquisition’s

10   effects is the United States.

11          106.     In each of the Relevant Markets, consumer preferences and gaming behavior

12   differ across countries. Internal research from both Microsoft and Activision also finds

13   significant variation among countries on metrics like                                            . For

14   its most recent Generation 9 consoles, Microsoft differentiated its

15                                                                         . Given its large installed base

16   of Generation 8 consoles, Microsoft placed the United States into a

17                                                                             along with only       other

18   countries. Microsoft has identified the United States as a

19

20          107.    Microsoft is a leader in the United States in the Multi-Game Content Library

21   Subscription Services market. As of the

22                                                  Microsoft offers Game Pass at different price

23   points outside the United States.

24          108.    Microsoft and other Cloud Gaming Subscription Service providers have similarly

25   focused on the United States                                                  . Microsoft launched

26   Game Pass Ultimate first in the United States and Canada, with Nvidia’s GeForce NOW and

27   Amazon Luna undertaking a similar strategy. Cloud Gaming Subscription Service providers also

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            26
1    note that the proximity of cloud servers to gamers is important in light of the technological

2    demands of cloud gaming.

3                                     ANTICOMPETITIVE EFFECTS

4           109.    The Proposed Acquisition is reasonably likely to substantially lessen competition

5    or tend to create a monopoly in the Relevant Markets by creating a combined firm with the

6    ability and increased incentive to withhold Activision’s valuable gaming content from, or

7    degrade Activision’s content for, Microsoft’s rivals. The combined firm would have the ability to

8    exclude Microsoft’s rivals from access to some or all of Activision’s content in the Relevant

9    Markets. Microsoft would have the power to decide if, when, and to what extent Activision

10   content will be available on competing products. The Proposed Acquisition is likely to increase

11   entry barriers, thereby dampening beneficial rivalry and innovation. If permitted to make

12   Activision a captive supplier, Microsoft would have a substantially increased incentive to engage

13   in strategies to that would likely lead to reduced consumer choice, higher prices or lower quality

14   products, and less innovation.

15   I.     As the Owner of Activision’s Gaming Content, Microsoft Would Have the Ability to

16          Disadvantage Rivals by Withholding or Degrading Activision Content in the

17          Relevant Markets

18          110.    AAA gaming content is a substantially important input for High-Performance

19   Consoles, Multi-Game Content Library Subscription Services and Cloud Gaming Subscription

20   Services, as these products use AAA content to attract and retain users and drive adoption. AAA

21   content is difficult to produce given the intense resources and specialized competency required to

22   develop these valuable games.

23          111.    Activision is a leader amongst an already limited number of developers able to

24   produce such content through its cherished gaming franchises, including Call of Duty, Diablo,

25   and Overwatch. As the owner of Activision’s gaming content, Microsoft would have the ability

26   to disadvantage rivals by withholding or degrading Activision content in the Relevant Markets.

27

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            27
1           A.      AAA Content is a Substantially Important Input for Products in the

2                   Relevant Markets

3           112.    As discussed above, AAA gaming content is an important input for consoles and

4    gaming subscription services. AAA games typically represent an outsized portion of revenue on

5    these products and drive greater engagement and adoption.

6           113.    Microsoft’s own executives repeatedly emphasize

7    In a 2019 internal email, Xbox’s then-Chief Marketing Officer told Microsoft’s Mr. Nadella that

8

9

10                                              In a June 2020 conversation between other Microsoft

11   executives about Game Pass growth drivers, one aptly points out, “                .”

12          114.    Similarly, Microsoft echoes the importance of AAA content on its High-

13   Performance Consoles. As one direct report to Mr. Spencer relayed to him,

14

15          During negotiations with top third-party publishers for inclusion of their games on Xbox

16   Series X|S, Microsoft internally noted that Activision “

17               ” entitled to “                           .”

18          115.    Activision’s powerful influence on gaming product adoption is also borne out by

19   its revenue share negotiations with

20

21                             In one Microsoft executive’s words, Activision’s share on Call of Duty

22   is “            ” and is the

23

24          B.      As the Owner of the Activision Content, Microsoft Would Have the Ability to

25                  Withhold Activision’s Content from, or Degrade Activision Content on, Rival

26                  Consoles and Subscription Services

27          116.    The Proposed Acquisition would give Microsoft total control over Activision’s

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            28
1    content, thereby giving Microsoft the ability to fully withhold Activision content from rivals,

2    raise rivals’ costs, change the terms and timing of access to Activision content, or degrade the

3    quality of Activision content available for rival consoles and subscription services.

4           117.    The Proposed Acquisition would give Microsoft the ability to engage in several

5    strategies to degrade access to Activision content on rival consoles and subscription services,

6    including timed exclusivity, exclusive downloadable content available only on Microsoft’s

7    products, and a variety of other means across the Relevant Markets.

8           118.    Microsoft also would gain the ability to engage in tactics to degrade the quality of

9    Activision content on competing consoles and subscription services and create a less desirable

10   player experience for users choosing to play anywhere other than on Microsoft’s products.

11          119.    The Proposed Acquisition also would give Microsoft the ability to reduce efforts

12   to optimize Activision content for rival products. Currently, Activision collaborates closely with

13   gaming hardware manufacturers to ensure an optimal experience for gamers. For example,

14   Activision collaborated with

15

16                                                                               Should the Proposed

17   Acquisition close, the combined firm will have the ability to reduce such collaboration in the

18   High-Performance Console Market.

19          120.    Activision also works to optimize its games, including Call of Duty, to work on

20                  . A GPU (or Graphics Processing Unit) is a hardware component that renders

21   graphics for video games.

22

23

24                                                                                 The Proposed

25   Acquisition would give Microsoft the ability to reduce efforts to optimize Activision content for

26   hardware used by rival Cloud Gaming Subscription Services.

27

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            29
1    II.    The Proposed Acquisition Would Increase Microsoft’s Incentive to Disadvantage

2           Rivals by Withholding or Degrading Activision Content in the Relevant Markets

3           121.    If permitted to take control of Activision, Microsoft would have an incentive to

4    disadvantage rivals by withholding or degrading Activision content. Gaming is a growing and

5    lucrative market opportunity and one in which Microsoft is already well-positioned. Microsoft

6    already has a built-in incentive to promote its own products wherever possible, and it fully

7    understands the competitive power that owning Activision’s leading gaming content would yield.

8           122.    Prior to the Proposed Acquisition, Activision sought to maximize its profits from

9    sales of its video game titles. The Proposed Acquisition would change Activision’s incentives,

10   because Microsoft stands to gain significant profits from additional gamers purchasing Xbox

11   consoles or Xbox Game Pass. Hence, the combined firm will be incentivized to disadvantage

12   Microsoft rivals by withholding Activision content from, or degrading Activision content on,

13   rival consoles and subscription services to promote sales of Microsoft’s products.

14          123.    While AAA content in general is important to competitors in the Relevant

15   Markets, Activision content is especially important because of its ability to drive gaming product

16   adoption and engagement by users.

17          124.    Activision’s own documents point out the significant role Activision content plays

18   in consumers’ choice of gaming products. In a 2019 presentation to          , Activision

19   highlighted consumer survey data showing that

20

21

22

23          125.    The Proposed Acquisition would reduce Microsoft’s incentive to optimize

24   Activision content for rival products, including via collaboration with Microsoft’s rivals. Given

25   the competition between Microsoft and Sony, the combined firm will have less incentive to

26   collaborate with Sony to                                             . In addition, because

27   Microsoft’s Game Pass Ultimate competes

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            30
1

2

3

4

5    III.   Microsoft’s Statements and Past Actions Indicate that It Will Likely Act on Its

6           Incentives to Disadvantage Rivals by Withholding or Degrading Activision Content

7           126.    Microsoft stated in 2022 that it

8                               Microsoft subsequently has wavered in its representations as to

9

10          127.    Moreover, Microsoft’s past conduct is telling. Despite statements by Microsoft to

11   European regulators disavowing the incentive to make ZeniMax content exclusive post-close,

12   after the EC cleared the transaction, Microsoft plans for three of the newly acquired titles to

13   become exclusive to Microsoft’s Xbox consoles and Xbox Game Pass subscription services. For

14   example, although previous titles in ZeniMax’s                 franchise were released on

15   PlayStation, Microsoft has confirmed that the upcoming                      will be available only

16   on Xbox consoles, Windows PCs, and Xbox Game Pass subscription services. Microsoft has also

17   stated that Starfield and Redfall, two of the highly anticipated new games in development at the

18   time of Microsoft’s purchase of ZeniMax, will also become Xbox console and Xbox Game Pass

19   exclusives upon release.

20          128.    Microsoft’s previous representations to the EC about its incentives after its

21   purchase of ZeniMax were not borne out by Microsoft’s own post-merger behavior. Instead,

22   Microsoft put its true post-merger incentives on full display when it decided to deny rivals its

23   newly acquired future releases and thwart consumers who would choose to play them on a

24   competing product. Microsoft’s past behavior should also cast more suspicion on its non-binding

25   public commitments to keep Call of Duty available on PlayStation consoles through the end of

26   Activision’s existing agreement with Sony (i.e., through       ).

27          129.    Microsoft is eager to further build upon its already significant strength in gaming,

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            31
1    with Mr. Nadella declaring publicly, “Microsoft’s all-in on gaming.” Looking to reap the

2    financial opportunity available in the gaming industry, Microsoft would be incentivized to

3    withhold Activision content from, or degrade content on, rival products in order to disadvantage

4    its rivals, thereby weakening competition and increasing its profits.

5            130.   Moreover, as Microsoft internally recognizes, acquisitions in this industry

6                                                            This Proposed Acquisition—the largest

7    ever announced in the gaming industry—poses a reasonable probability of further accelerating

8    this trend.

9    IV.     Withholding Activision Content From, or Degrading Activision Content On,

10           Microsoft’s Rival Products Will Harm Competition and Consumers in the Relevant

11           Markets

12           131.   Withholding Activision content from, or degrading Activision content on,

13   Microsoft’s rivals’ products is reasonably likely to substantially lessen competition in the

14   Relevant Markets.

15           132.   This lessening of competition will result in harm to consumers, including reduced

16   consumer choice, reduced product quality, higher prices, and less innovation.

17                            LACK OF COUNTERVAILING FACTORS

18           133.   Defendants cannot demonstrate that entry or expansion in the Relevant Markets

19   would be timely, likely, or sufficient to reverse the anticompetitive effects of the Proposed

20   Acquisition.

21           134.   Defendants cannot demonstrate that the Proposed Acquisition would likely

22   generate verifiable, cognizable, merger-specific efficiencies that would reverse the likely

23   competitive harm from the Proposed Acquisition.

24                         LIKELIHOOD OF SUCCESS ON THE MERITS,

25                       BALANCE OF EQUITIES, AND NEED FOR RELIEF

26           135.   Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), authorizes the Commission,

27   whenever it has reason to believe that a proposed merger is unlawful, to seek preliminary

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            32
1    injunctive relief to prevent consummation of a merger until the Commission has had an

2    opportunity to adjudicate the merger’s legality in an administrative proceeding. In deciding

3    whether to grant relief, the Court must balance the likelihood of the Commission’s ultimate

4    success on the merits against the equities, using a sliding scale. The principal equity in cases

5    brought under Section 13(b) is the public’s interest in effective enforcement of the antitrust laws

6    and ensuring the Commission is not deprived of the ability to order appropriate relief. Private

7    equities affecting only Defendants’ interests cannot tip the scale against a preliminary injunction.

8           136.    The Commission is likely to succeed in proving that the effect of the Proposed

9    Acquisition may be substantially to lessen competition or tend to create a monopoly in violation

10   of Section 7 of the Clayton Act and/or Section 5 of the FTC Act, and that the Merger Agreement

11   and Proposed Acquisition constitute unfair methods of competition in violation of Section 5 of

12   the FTC Act.

13          137.    Preliminary relief is warranted and necessary. Should the Commission rule, after

14   the full administrative proceeding, that the Proposed Acquisition is unlawful, reestablishing the

15   status quo would be difficult, if not impossible, if the Proposed Acquisition has already occurred

16   in the absence of preliminary relief. Allowing the Proposed Acquisition to close before the

17   completion of the administrative proceeding would enable the combined firm to, among other

18   things, begin altering Activision’s operations and business plans, accessing Activision’s sensitive

19   business information, eliminating key Activision personnel, changing Activision’s game

20   development efforts, and entering into new contractual relationships on behalf of Activision. In

21   the absence of relief from this Court, harm to competition would occur in the interim.

22          138.    Accordingly, the equitable relief requested here is in the public interest. The

23   Commission respectfully requests that the Court:

24                  1. Enter a temporary restraining order and preliminarily enjoin Defendants from

25                      consummating the Proposed Acquisition, or any other acquisition of stock,

26                      assets, or other interests of one another, either directly or indirectly;

27

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            33
1                   2. Retain jurisdiction and maintain the status quo until the administrative

2                      proceeding initiated by the Commission is concluded; and

3                   3. Award such other and further relief as the Court may determine is appropriate,

4                      just, and proper.

5

6    Dated: June 12, 2023                          Respectfully submitted,
7                                                  /s/ James H. Weingarten
     Of counsel:                                   James H. Weingarten
8                                                  Deputy Chief Trial Counsel
     Holly Vedova
9    Director                                      Peggy Bayer Femenella
     Bureau of Competition                         Assistant Director
10
     Patty Brink                                   James Abell
11   Acting Deputy Director                        Deputy Assistant Director
     Bureau of Competition
12                                                 Cem Akleman
     Shaoul Sussman                                J. Alexander Ansaldo
13   Associate Director for Litigation             Michael T. Blevins
     Bureau of Competition                         Amanda L. Butler
14                                                 Nicole Callan
                                                   Maria Cirincione
15                                                 Kassandra DiPietro
                                                   Jennifer Fleury
                                                   Michael A. Franchak
16                                                 James Gossmann
                                                   Ethan Gurwitz
17                                                 Meredith R. Levert
                                                   David E. Morris
18                                                 Merrick Pastore
                                                   Stephen Santulli
19                                                 Edmund Saw

20                                                 Counsel for Plaintiff Federal Trade Commission

21

22

23

24

25

26

27

28
     COMPLAINT FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
                                            34
